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                      EXHIBIT
                         A
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                 MIDLAND-ODESSA DIVISION

XIQIU ("BOB") FU, an individual,         §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §                   NO. 7:20-CV-257-DC
                                         §
GUO WENGUI (a/k/a MILES KWOK, a/k/a      §
WENGUI GUO, a/k/a MILES GUO, a/k/a HO §
WAN KWOK), an individual; GTV MEDIA      §
GROUP, INC., a Delaware corporation,     §
SARACA MEDIA GROUP, INC., a Delaware §
Corporation, and VOICE OF GUO MEDIA,     §
INC., a Delaware corporation; and LIHONG §
WEI LAFRENZ (a/k/a SARA WEI) and         §
DONG AF ANG, individuals,                §
                                         §
       Defendants.                       §

          PLAINTIFF BOB FU'S AFFIDAVIT SUPPORTING HIS MOTION FOR
                         PRELIMINARY INJUNCTION

STATE OF TEXAS                        §
                                      §
COUNTY OF MIDLAND                     §

        BEFORE ME, the undersigned Notary Public, in and for the state of Texas, on this day

personally appeared Xiqiu ("Bob") Fu, who upon his oath, deposed and stated to me as follows:


        "My name is Xiqiu ("Bob") Fu. I am of sound mind, capable of making this Affidavit, and
personally acquainted with the facts herein. I was born on July 12, 1968. I live at 4719 Bishops
Castle Drive, Midland, Texas 79705. My wife and children also live with me. I am the President
of ChinaAid, Inc. a non-profit whose mission is to advance religious freedom and the rule of law
in China. ChinaAid's office is currently located at 1608 N. Big Spring, Midland TX, 79701. I am
fluent in Mandarin Chinese and have verified that any translations to English which accompany
any of the Exhibits to the Motion for Preliminary Injunction are accurate. Moreover, I have verified
that any photographs or videos depicting picketers are located in front of my house and along
Bishops Castle Drive in Midland, Texas. Finally, Exhibit N of the Motion and Application for
Preliminary Injunction, is a screenshot of a message posted by Sara Wei a/k/a Lihong Wei Lafrenz,
stating that the picketers will return sometime after the Presidential Election.



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        I am from China but escaped to the United States in 1997. I first lived in Philadelphia from
1997 to 2004. I became a naturalized United States citizen in 2003 and have been a member of the
Midland community since 2004. In 2002, I founded ChinaAid and have since used it as a tool to
promote international religious freedom . I have testified before the Tom Lantos Human Rights
Commission, the House Foreign Affairs Committee, the Senate Judiciary Committee, the United
States Commission on International Religious Freedom, the Congressional-Executive
Commission on China, and the United Nations Commission on Human Rights . I have also had the
privilege of speaking to the Parliaments of the United Kingdom, the Netherlands, the European
Union, and Taiwan. I am also a member of the Council on Foreign Relations . All of the addresses
and testimony were in furtherance of human rights, democracy, and religious liberty.

        I verify that as to my Original Complaint filed with this Court, paragraphs 1, 8-17, 22, and
39-79 are accurate based on my personal knowledge. Paragraph 4 7 does contain a misstatement,
however. The sentence " [t]o ensure their physical safety, Dr. Fu's wife and children were
transferred to a safe house," refers to events as they occurred specifically on September 28 , 2020.
However, my wife and children were offered the use of a safe house, but they declined to change
locations out of fear of being intercepted by Guo ' s followers .

       To my surprise, I have recently come under attack by a Chinese national, Guo Wengui
("Guo"). Guo currently owns several media platforms such as GTV Media Group, Inc., Saraca
Media Group, Inc., and the Voice of Guo Media, Inc. He is self-funded as well as solicits donations
from third-parties. Guo, instead of using these companies to promote good, has used his companies
to promote countless false, defamatory, and threatening statements about me.

         Guo ' s activities have expanded beyond his continuous defamatory publications to
mobilizing his followers to come to Midland to "kill" and "eliminate" me as part of his "Global
Elimination Campaign." To truly understand the vitriol and violence that Guo promotes, it is
important to understand Guo ' s choice of word for "kill. " He used, repeatedly, the word "X " or
"mie." This word has a very specific connotation in Chinese culture, because that is the word that
Chairman Mao Zedong used when issuing orders against the Chinese Nationalist government and
military. When Mao used this particular word "mie," it was always used in the most literal sense,
to kill, destroy, eliminate, or exterminate. Guo offers monetary rewards to those who succeed in
accomplishing Guo's objectives in his Campagn. I have learned that his followers have turned
violent in instances from California, New York, and Virginia while participating in Guo's
Campaign.

        On September 26, 2020 I learned that five of Guo ' s followers unexpectedly appeared
outside my home. I was in Washington D.C. at that time participating in the 2020 Prayer March at
the National Mall. I cancelled meetings with members of Congress in order to return home earlier
than expected due to these disturbing events involving picketers. Also that day, my wife called my
cell phone numerous times but I did not immediately answer as I was trying to learn the extent of
this threat against me, my family, and ChinaAid. When we spoke, my wife was noticeably scared
and crying, screaming that she thought I had been killed. My wife, children, and two guests were
at home alone, left to fend for themselves until I was able to get back to Midland.




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        On October 5, 2020, Guo and his followers began their continuous 27-day elimination
campaign while stationed in front of my home and spaced along Bishops Castle Drive. That day,
approximately 50 protestors arrived by charter bus. It is my understanding that at least one
protestor was arrested for trespassing on my property, which is evidenced by Exhibit C of the
Motion and Application for Preliminary Injunction filed with the Court. Others were arrested as
well. Police officers were called on scene. Midland's Mayor, Patrick Payton, conducted a press
conference to address the unwelcomed presence of the picketers outside of my home . Due to a
credible life threat against me and my family members, I was strongly urged by law enforcement
officers to evacuate my family from Midland immediately, we flew to Washington D.C. that
afternoon. Guo posted a video referring to his various picketing groups as a "team" of his. This
video is produced as Exhibit D-5 in the Motion and Application for Preliminary Injunction filed
with this Court.

      On October 8, 2020, Guo's media outlets began live broadcasting the picketing in front of
my home. At one point, I observed 245,926 individuals were viewing Guo ' s broadcast.

        To my understanding, Wang Wengeng arrived in Midland to participate in the protests on
or about October 11 , 2020. He is one of Guo ' s agents. Recently a resident of California applied
for a restraining order against Wang Wengeng for similar reasons; this is evidenced by Exhibit I
of the Motion and Application for Preliminary Injunction filed with the Court. I returned to Texas
on October 18, 2020 by flying into Dallas, where I spoke at Dallas Baptist University. I then flew
with my family members from Dallas to Midland on October 19, 2020, where we were promptly
escorted by law enforcement officers and FBI agents to a safe house provided by a Midland church.

        On October 20, 2020, there were approximately 62 protestors outside my home. Then on
the next day, one of Guo ' s followers posted a message in Mandarin which translated to English
stated: "Go, Bomb CCP Bandit/Thief." The post also included a caricature of me. I reported this
to local authorities out of concern for my family's safety and that of my property.

         When I voted early in the Presidential Election I believed I could only do so by disguising
my appearance. Heidi and I voted early, each wearing a hat, sunglasses, and a wig, so I would not
be recognized. I was insistent I would not let Defendants deter me from casting my ballot, yet I
did not want to be an easy target that could result in a violent attack against me or my family. I
don ' t believe that any American should feel it necessary to take such drastic steps to carry out his
or her civic responsibility.

        Also on October 21, 2020, the number of protestors increased to around 80 people. On
October 22, 2020, protests expanded from the sidewalks in front of my home to nearby
neighborhood homes on Bishops Castle Drive. I attribute Guo's influence to bringing people to
my home. I was fearful that at any time a protestor would take a drastic next step: one of physical
violence against my family or me, and/or co-workers. By October 27, 2020, the protestors were
approximately 100 in number. That same day, one of Guo ' s followers declared that I should be
killed because I "participat[ed in an] effort for defaming and deporting Mr. Guo." Another of
Guo's followers threatened that I was "done." At the height of these protests, the picketers spanned
down Bishops Castle Drive. There were even picketers on the sidewalk, posted in front of my
house on the other side of the street.


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        After the last day of protests on October 31, 2020, I felt it unsafe to return home. I decided
not to come home immediately because Sara Wei, a Guo agent, vowed that they would be back
after the Presidential Election, and I did not want my family or me to be exposed as a target of a
violent attack. Not until November 18, 2020, did we return to our home in Midland.

        While the protestors are temporarily absent, I have taken measures to enhance my home
and work security. Sadly, none of these precautions have restored the sense of security I once
enjoyed in my own home. I was once a heavy sleeper, but now I am easily awakened out of fear
that the protestors have returned, or worse yet, have returned and are attempting to finally carry
out Guo's edicts now that I am at home in Midland. I have also witnessed my wife, Heidi, break
down from fear and anxiety caused by Defendants, to such an extent she now uses over-the-counter
sleep medications, something that she never did before September, 2020. My wife and I frequently
hosted guests in our home before this nightmare began. Since the picketers left we have not hosted
guests. When picketers resume - as Guo's followers have vowed- their actions prevent my family
from using the alley and driveway at the back of my home. Picketers would also make parking
directly in front of my home a dangerous situation for me, my family, and our guests, based on
Guo-sponsored incidents. These incidents are produced for the Court as Exhibits I, J, K, and L in
the Motion and Application for Preliminary Injunction filed with the Court. My family and I have
been traumatized by this experience and to this day, we fear for our lives and safety."

FURTHER AFFIANT SA YETH NOT.




        SWORN TO AND SUBSCRIBED BEFORE ME on this 31st day of December, 2020.




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